           20-11354-shl            Doc 1          Filed 06/03/20 Entered 06/03/20 20:05:03                                  Main Document
                                                                Pg 1 of 17
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Peraso Technologies Inc.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             981408747
                                                        Other ___________________________.                     Federal Tax ID Number
                                                                                           Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.


                                            ___________________________________________________________________________________________
3.   Name of foreign
     representative(s)                     _Ernst     & Young Inc.

4.   Foreign proceeding in which           Proceeding Under the Companies ' Creditors Arrangement Act, pending before the Ontario Superior Court of Justice
     appointment of the foreign            Commercial List
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               
                                           ✔      A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________

                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the
     foreign representative(s)?
                                           
                                           ✔      Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
              20-11354-shl         Doc 1         Filed 06/03/20 Entered 06/03/20 20:05:03                                   Main Document
                                                               Pg 2 of 17
Debtor          Peraso  Technologies Inc.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   144 Front Street West, Suite 685
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Toronto, Ontario                   M5J2L7
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         Canada
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 100 Adelaide Street West
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 PO Box 1
                                                                                                         _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Toronto, ON                        M5H0B3
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              www.ey.com/ca/Peraso
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 3 of 17
            20-11354-shl         Doc 1       Filed 06/03/20 Entered 06/03/20 20:05:03                                                          Main Document
                                                           Pg 4 of 17
Debtor        Peraso  Technologies Inc.
              _______________________________________________________                                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ✔    
                                           Debtor’s principal place of business or principal assets in the United States


                                           Debtor does not have a place of business or assets in the United States, but the following
                                            action or proceeding in a federal or state court is pending against the debtor in this district:

                                            Ubiquiti Inc. v. Peraso Technologies Inc., Case No. 1:20-cv-01312-LTS-GWG (S.D.N.Y).

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                            of the parties, having regard to the relief sought by the foreign representative, because:

                                            _______________________________________________________________________________________




13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                           ________________________________________________                             Brian Denega
                                                                                                                         _______________________________________________
                                           Signature of foreign representative                                           Printed name


                                       Executed on          __________________
                                                             MM / DD / YYYY



                                           ________________________________________________                             _______________________________________________
                                           Signature of foreign representative                                           Printed name


                                       Executed on          __________________
                                                             MM / DD / YYYY




14.   Signature of attorney
                                        /s/ Ken Coleman
                                            _________________________________________________ Date                                       06/03/2020
                                                                                                                                        _________________
                                            Signature of Attorney for foreign representative                                            MM     / DD / YYYY


                                           Ken  Coleman
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Allen & Overy LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1221  Avenue of the Americas
                                           _________________________________________________________________________________________________
                                           Number           Street
                                           New  York
                                           ____________________________________________________ NY          10020
                                                                                                 __________________________________________
                                           City                                                                                State            ZIP Code


                                           (212) 610-6300
                                           ____________________________________                                                ken.coleman@allenovery.com
                                                                                                                               __________________________________________
                                           Contact phone                                                                       Email address




                                           1775139                                                NY
                                           ______________________________________________________ ____________
                                           Bar number                                                                          State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                                      page 3
          Print                     Save As...                       Add Attachment                                                                          Reset
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 5 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 6 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 7 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 8 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                     Pg 9 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 10 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 11 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 12 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 13 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 14 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 15 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 16 of 17
20-11354-shl   Doc 1   Filed 06/03/20 Entered 06/03/20 20:05:03   Main Document
                                    Pg 17 of 17
